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                         Exhibit D

               [December 9, 2014 Resolutions]
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ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC (“EFIH”)
BOARD OF MANAGERS RESOLUTIONS
DECEMBER 9, 2014

  The following recitals and resolutions supplement the Board of Managers Resolutions dated as of
  November 7, 2014 (“November 7th Resolutions”) and, in the event of any inconsistency, these
  resolutions shall supersede and control.

  WHEREAS, Energy Future Holdings Corp. (“EFH Corp.”) and certain of its direct and indirect
  subsidiaries (excluding Oncor Electric Delivery Holdings Company LLC and its subsidiaries),
  including EFIH (the “Debtors”) on April 29, 2014, filed voluntary petitions for relief under chapter 11
  of title 11 of the United States Code (“Chapter 11 Case”) in the Bankruptcy Court for the District of
  Delaware (“Bankruptcy Court”);

  WHEREAS, the members of the Board of Managers of EFIH (“Board”) having relationships or
  interests with other affiliated or related companies and their direct or indirect equity holders and
  other material relationships have disclosed certain facts that they believe to be material to the Board;

  WHEREAS, as described in the material presented and reviewed by the Board and based on a review
  of the known facts and circumstances, the Board has determined and confirmed by the November 7th
  Resolutions that Charles Cremens is the only current member of the Board that is disinterested with
  respect to any matter pertaining to the Chapter 11 Case on which an actual conflict exists between
  EFIH, on the one hand, and any other Debtor, on the other hand (“Conflict Matters”), and was
  designated the Disinterested Manager (“Disinterested Manager”) as set forth in Stipulation and Agreed
  Order Regarding a Protocol for Certain Case Matters, approved by the Bankruptcy Court on September
  16, 2014 (“Stipulation”);

  WHEREAS, the members of the Board considered the Stipulation related to, among other things, the
  authority of the Disinterested Manager to retain independent legal counsel and other advisors under
  certain circumstances;

  WHEREAS, the Board resolved by the November 7th Resolutions to delegate the authority to the
  Disinterested Manager to seek and retain, at EFIH’s sole expense, independent legal counsel and such
  other advisors (“Independent Advisors”) as the Disinterested Manager deems necessary to represent
  and advise EFIH, reporting to the Disinterested Manager, on the Conflict Matters;

  WHEREAS, the Disinterested Manager interviewed and engaged certain Independent Advisors
  effective as of November 16, 2014 to represent and advise EFIH, and reporting solely to the
  Disinterested Manager, as set forth herein; and

  WHEREAS, pursuant to the Stipulation and Section 2.1(h) of the Second Amended and Restated
  Limited Liability Company Agreement of EFIH, the members of the Board desire to delegate to the
  Disinterested Manager certain rights, authority, and powers in connection with Conflict Matters,
  among other matters set forth herein;

  NOW, THEREFORE, BE IT,

  RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
  Disinterested Manager the authority to review and act upon (as set forth herein) any Conflict Matters;
  and further

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RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Manager the authority to investigate and determine whether any matter constitutes a
Conflict Matter, in the exercise of his business judgment and with the advice of the Independent
Advisors, and any such determination shall be binding on EFIH and EFIH’s subsidiaries (other than
Oncor Electric Delivery Holdings Company LLC and its direct and indirect subsidiaries (the
“Excluded Subsidiaries”)); and further

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Manager the authority to make all decisions, and to implement or direct the
implementation of all such decisions, in each case on EFIH’s behalf, with respect to Conflict Matters
as the Disinterested Manager deems appropriate, in the exercise of his business judgment and with
the advice of the Independent Advisors or others with whom the Disinterested Manager determines
it is appropriate or necessary to consult, and to act on behalf of and bind EFIH in connection
therewith, including taking action on EFIH’s behalf, as the direct and indirect holder of the equity
interests in its subsidiaries, causing its subsidiaries (other than the Excluded Subsidiaries) to abide by
and implement the decisions and actions of the Disinterested Manager with respect to Conflict
Matters and the Disinterested Manager’s determination of whether a matter constitutes a Conflict
Matter; and further

RESOLVED that the Disinterested Manager will update the Board at board meetings on the status of
his or her (i) review of and decisions on whether any matter constitutes a Conflict Matter, and (ii)
review of and decisions on Conflict Matters, in each case in the manner that the Disinterested
Manager determines is appropriate and necessary to fulfill his or her duties and obligations as the
Disinterested Manager, taking into account the confidentiality or privilege of the Disinterested
Manager's work and the advice of the Independent Advisors; and further

RESOLVED that EFIH shall, as the direct and indirect holder of the equity interests in its subsidiaries
direct and cause each of its subsidiaries (other than the Excluded Subsidiaries) to abide by and
comply with these resolutions; and further

RESOLVED that the officers, employees, advisors and agents of EFIH (collectively, the “Authorized
Persons”), acting alone or with one or more other Authorized Persons, be, and hereby are, directed to
furnish to the Disinterested Manager and the Independent Advisors all information as the
Disinterested Manager or the Independent Advisors may request, in a manner that shall not effect a
waiver of any applicable privilege, and to cooperate with the Disinterested Manager and the
Independent Advisors in all respects; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and hereby are, authorized, empowered and directed to implement any decision made by the
Disinterested Manager in respect of a Conflict Matter on behalf of EFIH as directed by the
Disinterested Manager; provided that the Disinterested Manager retains the right to implement any
such decision on behalf of EFIH and its subsidiaries (other than the Excluded Subsidiaries) himself or
through the Independent Advisors; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and they hereby are, authorized, empowered and directed to take any and all action that they
deem necessary or proper to assist the Disinterested Manager in carrying out the foregoing, in each
case as requested by and under the direction of the Disinterested Manager; and further



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RESOLVED that the Disinterested Manager shall control any attorney-client, work product, or other
privilege belonging to EFIH in connection with the Independent Advisors or their work or privileged
communications on the Conflict Matters and on whether any matter constitutes a Conflict Matter;
and further

RESOLVED that each member of the Board has agreed and hereby agrees that he or she shall not
have access to, and shall not seek access to, and hereby directs that each Authorized Person shall not
have access to and shall not seek access to, the work or privileged material of the Independent
Advisors on the Conflict Matters or on whether any matter constitutes a Conflict Matter, except as
permitted by the Disinterested Manager; and further

RESOLVED that the Disinterested Manager be, and hereby is, authorized to take all such further
action, at EFIH’s expense, as the Disinterested Manager shall deem necessary, proper or advisable
consistent with these resolutions or in order to carry out fully the intent and purposes of these
resolutions; and further

RESOLVED that all actions previously done or approved, or caused to be done or approved, by the
Disinterested Manager or the Authorized Persons, including the retention of Independent Advisors,
in each case only to the extent consistent with these resolutions, or to otherwise carry out the intent of
these resolutions, be and hereby are approved, adopted, confirmed and ratified in all respects.




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